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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                         :
 NITETEK LICENSING LLC,                  :
                                         :
                     Plaintiff,          :            21cv4738 (DLC)
                                         :
                -v-                      :                 ORDER
                                         :
 EVBOX NORTH AMERICA INC.,               :
                                         :
                     Defendant.          :
                                         :
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DENISE COTE, District Judge:

     An Order of July 7, 2021 required the plaintiff to file an

amended complaint or respond to the defendant’s motion to

dismiss by July 27, 2021.     The plaintiff did neither by July 27.

On August 4, attorney David deBruin requested that the deadline

to file an amended complaint be extended to August 10, claiming

that he “did not receive a copy of the [defendant’s motion to

dismiss] and only found out about it today.”        Mr. deBruin is not

admitted to practice in the United States District Court for the

Southern District of New York, has not filed a motion for

admission pro hac vice in this case, and is not listed as

counsel for the plaintiff on ECF.      It is hereby

     ORDERED that plaintiff shall file an amended complaint by

August 10, 2021.   It is unlikely that plaintiff will have a

further opportunity to amend.
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     IT IS FURTHER ORDERED that Mr. deBruin shall move for

admission pro hac vice by August 10, 2021.          The plaintiff shall

also retain alternate local counsel by August 10, 2021.

     Counsel is reminded that attorneys are obligated to monitor

the dockets of their pending cases and to comply with the

Court’s scheduling orders.        In re DeMarco, 733 F.3d 457, 463 (2d

Cir. 2013).

Dated:       New York, New York
             August 4, 2021


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                                             DENISE COTE
                                    United States District Judge




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